19-23649-shl       Doc 2763-1     Filed 04/29/21 Entered 04/29/21 09:10:41            Settlement
                                     Agreement Pg 1 of 4




                                SETTLEMENT AGREEMENT

Recitation

Undisputed Facts

       The parties agree that there are certain undisputed facts:

       In December 2017, a large number of lawsuits in various courts pending against Purdue
Pharma L.P. (“Purdue”), its beneficial owners and various manufacturers and distributors of
opioids, among others, were consolidated into a multidistrict litigation (hereafter the “MDL”)
venued in federal court in the Northern District of Ohio.

        In May 2018, Purdue (represented by various law firms) entered into a written joint
defense and common interest agreement with various other parties (including members of the
Sackler family who were the beneficial owners of Purdue) who were separately represented by
different law firms (hereafter “Common Interest Agreement”). The Common Interest Agreement
did not require the parties to pursue the same strategy but did allow the parties to share
potentially privileged information with each other without waiving privilege as to third parties.

        Skadden, Arps, Slate, Meagher & Flom LLP (“Skadden”) and Wilmer Cutler Pickering
Hale and Dorr LLP (“WilmerHale”) each signed the Common Interest Agreement on behalf of
Purdue. Attorneys from Quinn, Emanuel, Urquhart & Sullivan (“Quinn Emanuel”), who have
since moved to Dechert LLP (Dechert, Skadden and WilmerHale are collectively referred to
herein as the “Firms”), did the same. None of the Firms was authorized or required by the
Common Interest Agreement to withhold any information from Purdue under any conditions, nor
has any Firm done so.

       Skadden had represented Purdue since 2010.
       Dechert had represented Purdue in opioid-related litigation since June 2018.
       WilmerHale had represented Purdue since 2017 in respect of inquiries made of Purdue by
the United States Congress, and not in respect of the MDL or any other litigation.

       Purdue filed for bankruptcy in September 2019.

       The Debtors filed applications to retain each of the Firms as special counsel for the
Debtors under Section 327(e) of the Bankruptcy Code in November 2019.

       Each of the Firms was required under Bankruptcy Rule 2014 to disclose any connections
with other parties in interest in the bankruptcy. None of the Firms disclosed the existence of the
Common Interest Agreement.

       The Bankruptcy Court approved the retention of the Firms pursuant to Section 327(e).
19-23649-shl      Doc 2763-1      Filed 04/29/21 Entered 04/29/21 09:10:41             Settlement
                                     Agreement Pg 2 of 4



The U.S. Trustee’s Position

        The fact that each of the Firms had signed the Common Interest Agreement with law
firms representing the Sacklers should have been disclosed as a “connection” personal to the
Firms in each of their retention applications in these cases. In re Molten Metal Technology, Inc.,
289 B.R 505 (Bankr. D. Mass. 2003) supports the disclosure of common interest agreements in
certain circumstances. Here, the relationship between the Debtors and the Sacklers is central to
the bankruptcy cases as the Debtors filed these cases to implement a plan based on a global
settlement reached among the Debtors, the Sacklers and many plaintiff constituencies, and the
Common Interest Agreement was invoked in these cases as a reason that certain documents
could not be produced during discovery. However, the U.S. Trustee considered the facts and
found no evidence that the failure to disclose in this case was intentional or that there was an
effort by any of the Firms to mislead. Where there has been a failure to disclose a connection in
an application, even where due to inadvertence, the Bankruptcy Court has the discretion to
remedy such a disclosure including, among other things, by requiring all or part of the fees
earned by counsel to be disgorged.

The Firms’ Position

        The Firms acknowledge the importance of having robust systems to identify and consider
connections to ensure compliance with Rule 2014, which were utilized in good faith in this case.
The Firms did not consider disclosing the Common Interest Agreement as a “connection” at the
time of their applications and did not attempt to hide the existence of the Common Interest
Agreement, which was expressly referenced in invoices filed with the Bankruptcy Court. There
is no controlling precedent requiring disclosure of common interest agreements, and In re Molten
Metal is distinguishable from this case. There also is no common practice of disclosing common
interest agreements pursuant to Rule 2014. Although the Firms do not believe that the Common
Interest Agreement is a “connection” that was required to be disclosed under Rule 2014, they
have agreed to resolve the matter in the interest of expediency.

Agreement

        For the purpose of resolving this issue, and given the unique context of this case, the
parties agree as follows:

   1. The Firms agree to file a supplement to their disclosure accompanying their retention
      applications to reflect any common interest or joint defense agreement that the Firms
      entered into on behalf of Debtors with any party in interest identified in the most recent
      list provided by Debtors’ bankruptcy counsel. The Firms further recognize that courts
      have imposed disgorgement and other monetary consequences even where a non-
      disclosure of a connection occurred completely unintentionally. Accordingly, the Firms
      agree to settle this matter by collectively reducing their pending or future fee applications
      or monthly fee statements, as applicable, by $1.0 million, in the aggregate among the
      Firms, in exchange for a release of the Firms from all claims on behalf of the U.S.
      Trustee, the Debtors and their estates relating in any way to alleged disclosure failures
      concerning common interest agreements.

                                                 2
19-23649-shl     Doc 2763-1     Filed 04/29/21 Entered 04/29/21 09:10:41            Settlement
                                   Agreement Pg 3 of 4




   2. This agreement resolves all issues in respect of disclosure of common interest or joint
      defense agreements by the Firms in connection with the Debtors’ chapter 11 cases,
      including as those issues may relate to prior, present, and forthcoming fee applications
      presented in the Debtors’ chapter 11 case. This agreement is limited to the unique facts of
      the Common Interest Agreement in this case; it does not bind any party to this agreement
      to take or refrain from taking any position in this or any other case on the application of
      Rule 2014 to common interest agreements that law firms enter on behalf of a client. For
      the avoidance of doubt, in other cases the U.S. Trustee is free to argue that Rule 2014
      requires that law firms that enter common interest agreements on behalf of their clients
      with parties in interest in a bankruptcy are required to disclose such agreements in
      retention applications. And the Firms are free to take the position that there is no
      requirement to disclose such common interest agreements.

   3. This agreement is to be implemented through a motion pursuant to sections 105(a), 327,
      328 and 330 and Rule 2014 seeking approval on notice to all parties that requested notice
      under Rule 2002 and a stipulated order agreed by the U.S. Trustee and the Firms, which
      shall release the Firms from all claims whatsoever on behalf of the U.S. Trustee, the
      Debtors and their estates, who shall be a party to this agreement solely for purposes of
      this paragraph, relating in any way whatsoever to alleged disclosure failures concerning
      common interest or joint defense agreements in this case. The parties each agree to use
      their reasonable best efforts to achieve approval of the motion.



SEEN AND AGREED TO:


DATED: April 27, 2021                               BY: /s/ William K. Harrington
                                                        William K. Harrington
                                                        United States Trustee for Regions 1&2



DATED: April 27, 2021                               BY: /s/ Arthur Newbold
                                                        Dechert LLP
                                                        General Counsel and Partner



DATED: April 27, 2021                               BY:   /s/ Lawrence Spiegel
                                                          Skadden, Arps, Slate, Meagher &
                                                          Flom LLP
                                                          General Counsel and Partner




                                               3
19-23649-shl   Doc 2763-1   Filed 04/29/21 Entered 04/29/21 09:10:41      Settlement
                               Agreement Pg 4 of 4




DATED: April 27, 2021                       BY: /s/ Bruce Berman
                                                Wilmer Cutler Pickering Hale and
                                                Dorr LLP
                                                General Counsel and Partner

SEEN AND AGREED TO SOLELY FOR PURPOSES OF PARAGRAPH 3 OF THE
AGREEMENT:

DATED: April 27, 2021                       BY: /s/ Marc Kesselman
                                                Purdue Pharma L.P. on behalf of itself
                                                and its Debtor affiliates
                                                General Counsel




                                        4
